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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  AYODEJI OSHIKOYA, individually and on
  behalf of all others similarly situated,

                         Plaintiff,
                                                     Civil Action No. 1:17-cv-03237-RLY-DML
         v.

  LEIDOS HEALTH, LLC,

                         Defendant.


                           STIPULATED TOLLING AGREEMENT

        Plaintiff Ayodeji Oshikoya (“Plaintiff”) and Defendant Leidos Health, LLC (“Defendant”

 or “Leidos”) (together, the “Parties”), through their undersigned counsel, stipulate as follows:

        1.      Plaintiff filed this case on August 8, 2017 in the Eastern District of Virginia alleging

 that Leidos violated the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) and

 Pennsylvania state law by failing to pay Plaintiff and other Consultants an overtime premium for

 hours worked in excess of 40 a week. (Compl.,¶¶ 35-39, ECF No. 1.)

        2.      Defendant filed its Answer on September 5, 2017. (ECF No. 24.)

        3.      Defendant thereafter moved to transfer this case to the Southern District of Indiana,

 Indianapolis Division on September 5, 2017. (ECF No. 29.) Plaintiff did not oppose the motion,

 and this case was transferred to this District from the Eastern District of Virginia on September

 11, 2017. (ECF No. 34.)

        4.      On November 2, 2017, Plaintiff filed her Motion for Conditional Certification and

 to Facilitate Notice Pursuant to 29 U.S.C. § 216(b) (“Notice Motion”) seeking to conditionally

 certify and send notice of this action to the following proposed collective: All individuals who
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 worked for Leidos providing training and support to Leidos’ clients in using electronic

 recordkeeping systems in the United States during the past three years and were classified as

 independent contractors (“FLSA Collective” or “Consultants”). (Notice Motion, ECF Nos. 55-56.)

          5.      On November 6, 2017, Leidos filed a Motion to Stay the Conditional Certification

 Briefing. (Motion to Stay, ECF No. 60.)

          6.      The Parties participated in an Initial Pretrial Conference with the Court on

 November 6, 2017, during which the Court directed the Parties to fully brief Leidos’ Motion to

 Stay.

          7.      The Parties agreed that Plaintiff’s FLSA claims would be tolled during this briefing

 process.

          8.      Accordingly, Leidos agrees that, with respect to Plaintiff’s collective action claims

 under the FLSA, the statute of limitations shall be tolled for all FLSA Collective Members (using

 the definition for FLSA Collective Members set forth in Plaintiff’s Notice Motion) during the

 pendency of Defendant’s Motion to Stay—that is, from November 6, 2017 until the Court decides

 Defendant’s Motion to Stay (“Tolling Period”).

          WHEREFORE, the Parties respectfully request that the Court enter this stipulation as an

 Order.

            Respectfully submitted,                          Dated: November 9, 2017

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 Approved and So Ordered.


                                              ____________________________________
      11/17/17                                   Debra McVicker Lynch
 ________________________
 Date                                            United States Magistrate Judge
                                                 Southern District of Indiana




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